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          Nos. 24-7000 (lead), 24-3449, 24-3450, 24-3497,
           24-3508, 24-3510, 24-3511, 24-3519, 24-3538


      In the United States Court of Appeals
              for the Sixth Circuit
    IN RE: MCP NO. 185: FEDERAL COMMUNICATIONS COMMISSION,
      IN THE MATTER OF SAFEGUARDING AND SECURING THE OPEN
    INTERNET, DECLARATORY RULING, ORDER, REPORT AND ORDER,
     AND ORDER ON RECONSIDERATION, FCC 24-52, 89 FED. REG.
                  45404, PUBLISHED MAY 22, 2024

                        On Petitions for Review

UNOPPOSED MOTION TO PARTICIPATE IN ORAL ARGUMENT


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             UNOPPOSED MOTION TO PARTICIPATE
                   IN ORAL ARGUMENT

     Intervenors Free Press, New America’s Open Technology Institute,

Public Knowledge, Benton Institute for Broadband & Society, and

National Association of Regulatory Utility Commissioners move for leave

to participate in oral argument in the above-captioned case. See 6 Cir.

R. 34(e) (“An intervening party may request oral argument. The request

must be in writing; state whether the named parties have consented; and

state the reason separate argument is needed.”).

     Specifically, intervenors seek 7 minutes of argument time and a

commensurate 7 additional minutes for petitioners, a total of 14

additional minutes of argument time. If the Court denies that request,

intervenors seek 3 minutes of respondents’ allotted argument time.

Undersigned reached out to the parties to seek their consent.

“Respondents consent to divided argument and to intervenors’ request

for additional argument time. If the Court declines to allocate additional

time, respondents will be willing to cede three minutes of their argument

time to intervenors.” Petitioners “take no position.”

     In support of this motion, intervenors state as follows:
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      1.    On September 24, 2024, this Court granted intervenors’

motions to intervene and accepted their Tendered Joint Intervenor Brief

filed on September 12, 2024. ECF No. 158.

      2.    The Court has scheduled oral argument for October 31, 2024,

at 8:30 AM. ECF No. 124.

      3.    As evidenced in their motions to intervene as of right, which

this Court granted, intervenors have a significant interest in the outcome

of this case. Each intervention motion explained that under 28 U.S.C.

§ 2348, intervenors are entitled to participate in the case “as of right”

because they are “part[ies] in interest in the proceeding ... whose interests

will be affected if an order of the agency is or is not ... set aside.” See ECF

Nos. 50, 55, 58.

      4.    Intervenors’ participation in oral argument would assist the

Court in its consideration of the issues presented in this appeal because

intervenors emphasize arguments regarding a central issue in the case

that neither party raised nor addressed. As the Court is aware, having

ordered expedited briefing on the question, a central issue in the case is

whether the major-questions doctrine applies to the FCC’s classification

of wired and wireless BIAS as a Title I or Title II service under the

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Communications Act. And while the parties had to also address other

issues in the case that limited the space they could spend on that question

in their briefing, intervenors were not similarly constrained. Thus,

intervenors raised arguments important to how this Court answers that

central question that no party addressed in the briefing. Compare, e.g.,

Intervenors’ Br. 37-41 (explaining that Brand X precludes application of

the major-questions doctrine) with Reply Br. 3-10 (petitioners not

addressing this argument).

     5.    Intervenors’ participation would not prejudice any party or

unduly extend the length of the oral argument, as evidenced by the fact

that no party opposes the relief intervenors seek. Intervenors request

only 7 minutes each for themselves and for petitioners; combined, the

additional 14 minutes is less than the time typically allotted to a party

for oral argument. See 6 Cir. R. 34(f)(1) (“Generally. Each side has 15

minutes for oral argument ... .”). If the Court rejects that request for

additional argument time, intervenors can still participate without

prejudicing any party—again, “[i]f the Court declines to allocate

additional time, respondents will be willing to cede three minutes of their

argument time to intervenors,” and petitioners take no position.

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                            CONCLUSION

     The Court should grant the unopposed motion and allocate

7 minutes of argument time to intervenors and an additional 7 minutes

to petitioners. If the Court declines that request, it should allow

intervenors to use 3 of the minutes previously allotted to respondents.

                                  Respectfully submitted,

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October 14, 2024




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                   CERTIFICATE OF COMPLIANCE

     This brief complies with Fed. R. App. P. 32(a) because it contains

622 words.

     This brief further complies with the requirements of Fed. R. App.

P. 32(a) because it was prepared in a 14-point font using a proportionally

spaced typeface.

                                         /s/   Daniel Woofter
                                               Daniel Woofter

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                    CERTIFICATE OF SERVICE

     I hereby certify that on October 14, 2024, I electronically filed the

foregoing brief with the Clerk of Court for the U.S. Court of Appeals for

the Sixth Circuit using the CM/ECF system. I certify that all participants

in the case are registered CM/ECF users and that service will be

accomplished by the CM/ECF system.

                                         /s/   Daniel Woofter
                                               Daniel Woofter

     October 14, 2024
